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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                                                     10/20/2020
 Santiago Hernandez, et al.,

                          Plaintiffs,
                                                                     19-cv-7976 (AJN)
                 –v–
                                                                          ORDER
 San Marino at Soho Incorporated, et al.,

                          Defendants.


ALISON J. NATHAN, District Judge:

        On September 1, 2020, trial in this case was set to begin on March 29, 2021. The

Southern District of New York has reconfigured courtrooms and other spaces in its courthouses

to allow jury trials to proceed as safely as possible during the COVID-19 pandemic. Due to the

protocols implemented in response to the challenges posed by the COVID-19 pandemic, the

Southern District is scheduling all jury trials through a centralized calendaring process, giving

priority to criminal trials.

        Though the Court will make every effort to try the case at the currently scheduled date, it

cannot guarantee that a jury trial in this matter will be able to proceed as scheduled.

Accordingly, the parties are hereby ORDERED to meet and confer and submit a joint letter by

October 27, 2020, responding to the following questions:

        1. In the event that this case proceeds to trial, do all parties consent to a bench trial
           before this Court? If either party does not consent to a bench trial, the parties shall
           advise the Court that they do not consent, but without disclosing the identity of the
           party or parties who do not consent. The parties are free to withhold consent without
           negative consequences.

        2. If the parties instead elect to proceed with a jury trial, are they prepared to proceed to
           trial on the scheduled date?
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       If the parties do not consent to a bench trial and indicate that they are ready to proceed

with a jury trial on the scheduled date, the Court will request a jury for that date, consistent with

the protocols implemented by the Southern District. In that event, the parties shall be prepared to

proceed to trial as of that date and on each following week through April 2021. The Court will

provide the parties as much notice as possible about whether their case will proceed to trial

during any of those weeks.

       SO ORDERED.


    Dated: October 20, 2020
           New York, New York
                                                      ____________________________________
                                                                ALISON J. NATHAN
                                                              United States District Judge
